Case 1:15-cv-00842-RGA Document 95 Filed 02/07/17 Page 1 of 5 PageID #: 7551




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

CHANBOND, LLC,                       )
                                     )
                    Plaintiff,       )
                                     )
           v.                        )   C.A. No. 15-842 (RGA)
                                     )
ATLANTIC BROADBAND                   )
GROUP, LLC,                          )   REDACTED -- PUBLIC VERSION
                                     )
                   Defendant.        )

CHANBOND, LLC,                       )
                                     )
                    Plaintiff,       )
                                     )
           v.                        )   C.A. No. 15-843 (RGA)
                                     )
BRIGHT HOUSE NETWORKS, LLC,          )   REDACTED -- PUBLIC VERSION
                                     )
                   Defendant.        )

CHANBOND, LLC,                       )
                                     )
                    Plaintiff,       )
                                     )
           v.                        )   C.A. No. 15-844 (RGA)
                                     )
CABLE ONE, INC.,                     )   REDACTED -- PUBLIC VERSION
                                     )
                   Defendant.        )

CHANBOND, LLC,                       )
                                     )
                    Plaintiff,       )
                                     )
           v.                        )   C.A. No. 15-845 (RGA)
                                     )
CABLEVISION SYSTEMS                  )   REDACTED -- PUBLIC VERSION
CORPORATION, et al.,                 )
                                     )
                   Defendants.       )
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CHANBOND, LLC,                       )
                                     )
                   Plaintiff,        )
                                     )
           v.                        )   C.A. No. 15-846 (RGA)
                                     )
CEQUEL COMMUNICATIONS, LLC,          )   REDACTED -- PUBLIC VERSION
et al.,                              )
                                     )
                   Defendants.       )

CHANBOND, LLC,                       )
                                     )
                   Plaintiff,        )
                                     )
                   v.                )   C.A. No. 15-847 (RGA)
                                     )
CHARTER COMMUNICATIONS, INC.,        )   REDACTED -- PUBLIC VERSION
                                     )
                   Defendant.        )

CHANBOND, LLC,                       )
                                     )
                   Plaintiff,        )
                                     )   C.A. No. 15-848 (RGA)
           v.                        )   REDACTED -- PUBLIC VERSION
                                     )
COMCAST CORPORATION, et al.,         )
                                     )
                   Defendants.       )
                                     )
CHANBOND, LLC,                       )
                                     )
                   Plaintiff,        )
                                     )
           v.                        )   C.A. No. 15-849 (RGA)
                                     )
COX COMMUNICATIONS, INC.,            )   REDACTED -- PUBLIC VERSION
                                     )
                   Defendant.        )
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CHANBOND, LLC,                       )
                                     )
                     Plaintiff,      )
                                     )
            v.                       )   C.A. No. 15-850 (RGA)
                                     )
MEDIACOM COMMUNICATIONS              )   REDACTED -- PUBLIC VERSION
CORPORATION,                         )
                                     )
                    Defendant.       )

CHANBOND, LLC,                       )
                                     )
                     Plaintiff,      )
                                     )
            v.                       )   C.A. No. 15-851 (RGA)
                                     )
RCN TELECOM SERVICES, LLC,           )   REDACTED -- PUBLIC VERSION
                                     )
                    Defendant.       )

CHANBOND, LLC,                       )
                                     )
                     Plaintiff,      )
                                     )
            v.                       )   C.A. No. 15-852 (RGA)
                                     )
TIME WARNER CABLE INC., et al.,      )   REDACTED -- PUBLIC VERSION
                                     )
                    Defendants.      )

CHANBOND, LLC,                       )
                                     )
                     Plaintiff,      )
                                     )
            v.                       )   C.A. No. 15-853 (RGA)
                                     )
WAVEDIVISION HOLDINGS, LLC,          )   REDACTED -- PUBLIC VERSION
                                     )
                    Defendant.       )
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CHANBOND, LLC,                                 )
                                               )
                         Plaintiff,            )
                                               )
              v.                               )    C.A. No. 15-854 (RGA)
                                               )
WIDEOPEN WEST FINANCE, LLC,                    )    REDACTED -- PUBLIC VERSION
                                               )
                         Defendant.            )

                        NOTICE OF THIRD-PARTY SUBPOENAS

              PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, defendants will serve the subpoenas attached hereto as Exhibits A and B on Sprint

Corporation, and Exhibits C and D on Harley Ball, respectively.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Jennifer Ying

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                                  CERTIFICATE OF SERVICE

                I hereby certify that on February 6, 2017, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

February 6, 2017, upon the following in the manner indicated:

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                                                    /s/ Jennifer Ying

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